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15   COMPANY
16
                                 UNITED STATES DISTRICT COURT
17                              NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
18
19
     UNITED STATES OF AMERICA,                          Case No. 14-CR-00175-WHA
20
                                  Plaintiff,            RESPONSE TO REQUEST FOR
21                                                      INFORMATION
22          v.
23
     PACIFIC GAS AND ELECTRIC COMPANY,
24
                                  Defendant.
25

26

27

28                                                   1
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1            Pacific Gas and Electric Company (“PG&E”) respectfully submits this Response to the Court’s

2    Request for Information dated February 14, 2019. The following Response addresses the four

3    questions posed by the Court. PG&E is filing a separate response to the Submission of Attorneys Pitre

4    and Campora in Response to Order Dated January 30, 2019.

5                                              *      *      *
             Question 1: With respect to the written testimony of Janaize Markland cited
6            on the first page of Attorneys Pitre and Campora’s submission, please clarify
7            whether Ms. Markland’s reference to 17 tree-related outages per 1,000 miles
             should have been “< 2 percent of trees in contact,” rather than “< 0.02 percent
8            of trees in contact,” an apparent error by a factor of 100.

9            Response: In PG&E’s Safety Model Assessment Proceeding testimony to the CPUC dated
10   May 1, 2015, PG&E stated that “tree-related outages are in the neighborhood of 17 per 1,000 miles,
11   < 0.02 percent of trees in contact”. (Campora Decl. Exhibit A, Dkt. 1008-1 at 46.) The Court is
12   correct that there is a math error.
13           PG&E’s testimony inadvertently suggested that the ratio of tree-related outages per 1,000 miles
14   correlated to the percentage of trees in contact with PG&E’s power lines. This is not correct, as the
15   ratio concerns line miles rather than an approximate number of trees per line mile. In other words,
16   one cannot equate line miles with trees, as it is not a one to one ratio (i.e., there is more than one tree
17   per line mile).
18           Instead, PG&E estimates that there are more than 100,000,000 trees with the potential to
19   contact its approximately 100,000 miles of overhead distribution and transmission lines.
20           Accordingly, PG&E estimates that there are:
21           •   approximately 1,000 trees per line mile with the potential to contact the lines
22               (100,000,000 trees / 100,000 overhead line miles = 1,000 trees), and thus
23           •   approximately 1,000,000 trees per 1,000 line miles with the potential to contact the lines.
24           If in 2015 there were around 17 tree-related outages per 1,000 miles, the percentage of trees in
25   contact with the lines causing outages was approximately 0.0017 percent of all trees with the potential
26   to contact the lines (17 trees / 1,000,000 trees = 0.0017 percent). Thus, the percentage used in PG&E’s
27   testimony overstated the prevalence of tree contact outages.
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1            As discussed in response to Plaintiffs’ Paragraph 2, the way in which PG&E performed its risk

2    assessment and allocated resources throughout its service territory in 2015 is vastly different from the

3    way in which PG&E performs risk assessments and allocates resources today. PG&E has significantly

4    increased the financial and human resources expended to reduce vegetation-contact with power lines,

5    and in turn decrease ignition risk, particularly in the areas classified as High Fire-Threat District areas

6    in the High Fire-Threat District Map, adopted by the CPUC in January 2018. (See, e.g., Pacific Gas

7    and Electric Company 2019 Wildfire Safety Plan (“WSP”) dated Feb. 6, 2019, Dkt. 1004-1 at 70-80.)1

8
             Question 2: What vegetation clearance requirements exist for PG&E power
9            lines on federal lands?
10
             Response: PG&E is generally required to maintain the same clearances between vegetation
11
     and power lines on federal lands that it must maintain elsewhere in California. Vegetation clearance
12
     requirements adopted by the CPUC also apply on federal lands, including lands managed by the United
13
     States Forest Service (“USFS”), the Bureau of Land Management, and other federal entities, except to
14
     the extent they conflict with federal law. CPUC General Order 95 Rule 35 sets vegetation clearance
15
     requirements that vary based on the voltage of the line. PG&E is aware of no federal law that, as a
16
     general matter, conflicts with or otherwise preempts these requirements.
17
             The Pacific Southwest Region of the USFS, which covers National Forests within PG&E’s
18
     service territory, also requires that PG&E comply with California Public Resources Code
19
     Sections 4292 and 4293 on National Forest land or inside the National Forest Boundary. See Ronald
20
     Stewart, Pacific Southwest Region of the United States Forest Service, Order No. 91-1, Fire
21
     Restrictions              (Jul.             24,              1991),              available              at
22
     https://www.fs.usda.gov/Internet/FSE_DOCUMENTS/stelprdb5155192.pdf. These provisions would
23
     otherwise apply only in state responsibility areas.
24
             Pursuant to Public Resources Code § 4292, utilities must maintain at least 10 feet of clearance
25
     at ground level around each of their utility poles during the designated fire season by removing all
26
         1
          The page numbers referenced in all citations to the WSP throughout PG&E’s Response refer to
27
     the Wildfire Safety Plan’s internal pagination, not the ECF page numbers.
28                                                     3
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1    flammable materials, including dead or dry vegetation, from the circumference of any pole that has

2    equipment, as designated by the California Department of Forestry and Fire Protection (“CAL FIRE”),

3    that may generate electrical arcs, sparks or hot material during normal operation. Pursuant to Public

4    Resources Code § 4293, during the designated fire season utilities must maintain around their

5    conductors a radial clearance that varies based on the voltage of the line. In addition, Public Resources

6    Code § 4293 requires utilities to remove “[d]ead trees, old decadent or rotten trees, trees weakened by

7    decay or disease and trees or portions thereof that are leaning toward the line which may contact the

8    line from the side or may fall on the line”.
9           NERC Reliability Standard FAC-003-4, Transmission Vegetation Management, also regulates
10   PG&E’s transmission-related vegetation management practices throughout California with respect to
11   lines 200 kV and above (as well as a small number of lines below 200 kV), including on federal land.
12   FAC-003-4 imposes minimum vegetation clearance distances that depend on the type of current
13   (alternating or direct), the nominal and maximum system voltages and the altitude of the conductor
14   above sea level. FAC-003-4 also imposes other requirements on owners and operators of transmission
15   facilities, including but not limited to annual inspections, annual completion of necessary work, timely
16   notification and correction of urgent conditions and documentation of vegetation management
17   practices.
18          As a matter of policy, PG&E applies the same vegetation management standards to vegetation

19   management inspections and patrols on federal land that it applies elsewhere in its service territory.

20   Pre-inspectors and tree crews are instructed to maintain the same clearances, remove or trim dead or

21   dying trees and clear poles in the same manner.

22          In complying with clearance regulations and standards on federal land, PG&E must navigate

23   various regulatory requirements, including requirements that apply elsewhere in California. See

24   California Coastal Comm’n v. Granite Rock Co., 480 U.S. 572, 594 (1987) (holding that California

25   environmental regulation was not preempted and applied on federal land). For example, California

26   law requires that any entity seeking to take an action that substantially diverts or obstructs the natural

27   flow or substantially changes or uses material from the bed, channel or bank of any river, stream or

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1    lake, or uses material from a streambed, must first notify the California Department of Fish & Wildlife

2    (“CDFW”). Cal. Fish & Game Code §§ 1600 et seq. Entities must provide CDFW with written

3    notification of the project, including details regarding dates, cost, methods of construction, types of

4    equipment to be used, anticipated impact on vegetation and fish and wildlife resources and pre- and

5    post-project site conditions. CDFW then reviews the notification and determines whether the project

6    will have a substantial adverse impact on fish and wildlife resources. If so, it issues a Streambed

7    Alteration Agreement for the work that imposes restrictions designed to protect the potentially

8    impacted fish or wildlife resource. Cal. Fish & Game Code § 1602(a).
9             In addition, tree-trimming and removal on federal land may also implicate the Federal
10   Endangered Species Act (“FESA”), 16 U.S.C. §§ 1531 et seq., and the California Endangered Species
11   Act (“CESA”), Cal. Fish & Game Code §§ 2050 et seq., both of which are generally applicable on
12   federal land. FESA and CESA prohibit the “take” of listed species, as defined by each statute. See 16
13   U.S.C. § 1538; 50 C.F.R. § 17.3(c); Cal. Fish & Game Code §§ 2080 et seq.                As part of its
14   environmental evaluation process, PG&E assesses vegetation management work for endangered
15   species concerns and implements a variety of avoidance and minimization measures developed by
16   biologists as necessary to avoid the take of listed species, including scheduling of work outside of
17   nesting or breeding seasons when possible.
18            To the extent that PG&E cannot avoid the “take” of listed threatened or endangered species, it

19   must apply for and obtain an incidental take permit. 16 U.S.C. § 1539; Cal. Fish & Game Code

20   §§ 2080.1, 2081. The permit application generally must include a conservation plan that specifies the

21   likely   impact    of   the   activities,   as   well   as   minimization   and   mitigation   strategies.

22   16 U.S.C. § 1539(a)(2)(A). At both the state and federal level, this can be an extremely time-

23   consuming process and add significant time to the work schedule.

24            The requirement to obtain a permit under any of the above statutes may also trigger

25   environmental review under the National Environmental Policy Act (“NEPA”), 42 U.S.C. §§ 4321 et

26   seq., and/or the California Environmental Quality Act (“CEQA”), Cal. Pub. Res. Code §§ 21000 et

27   seq. Environmental review under NEPA and CEQA is triggered when PG&E seeks a discretionary

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1    permit from a federal agency or state agency, respectively. Projects for which PG&E requires both

2    federal and state discretionary permits triggers environmental review under both statutes. The extent

3    of such review under NEPA and/or CEQA depends on the magnitude of the project’s impact on the

4    environment. For projects that may have significant impacts on the environment, NEPA requires that

5    the federal agency prepare an Environmental Impact Statement (“EIS”) that analyzes potentially

6    significant impacts, identifies potential mitigation measures, and potential alternatives to the project.

7    42 U.S.C. § 4332. CEQA requires the state or local agency to prepare an Environmental Impact Report

8    (“EIR”) that contains a similar scope and level of analysis for projects that may have significant
9    impacts on the environment, except that CEQA requires that all feasible mitigation measures must be
10   implemented unless the agency determines that economic, social or other conditions make doing so
11   infeasible. Cal. Pub. Res. Code §§ 21002, 21002.1. The approval process can impose substantial
12   delays, which generally extend to the range of 6 to 24 months if the proposed action does not qualify
13   for a statutory or categorical exemption from review under the relevant statute or implementing
14   regulations.
15          In complying with clearance regulations and standards on federal land, PG&E must not only
16   comply with generally applicable regulations, but also requirements of the federal agency
17   administering the land. Additional requirements may include advance notice and approval, as well as
18   time, place and manner restrictions. Requirements may vary between federal lands depending on

19   which federal entity acts as the administrator. For example, not only does the USFS impose

20   requirements different from the National Park Service, but the requirements may vary even within a

21   department, between field offices or national parks.        Further, federal land administrators may

22   communicate guidance informally. Navigating complex, informal and non-standardized guidance

23   makes expedited completion of prescribed work more challenging.

24          PG&E undertook a multi-year effort to streamline this process within the National Forest

25   system. PG&E and USFS negotiated master permits and easements and a Master Operations and

26   Maintenance Plan to cover the 11 national forests in PG&E’s service territory. The Master Operations

27   and Maintenance Plan standardizes application and notice procedures and imposes required practices

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1    to minimize impacts to soil and waterways and to protect sensitive species and habitat areas. Even

2    with this agreement, however, PG&E still must obtain approval or provide notice regarding the general

3    type of work, the location and the schedule of routine vegetation management activities. Moreover,

4    when PG&E’s compliance work requires more significant activities, including removal of hazard trees

5    or other work which may leave woody material on-site, PG&E must provide additional notice and

6    information, including information about the equipment to be used, the extent to which a ground

7    disturbance is anticipated, the number, location, size and species of trees to be cut and best

8    management practices and avoidance and minimization measures that are to be followed.
9            On other federal lands, such as those managed by the National Park Service (“NPS”) and the
10   Bureau of Land Management (“BLM”), where PG&E has not established similar streamlined
11   processes for conducting operations and maintenance work, including vegetation management,
12   coordination with the agency on vegetation management activities is generally on a project-by-project
13   basis. 2 This creates uncertainty and variability in the length of time it takes for the agency to authorize
14   PG&E to proceed with the work.

15
             Question 3: With respect to the enhanced vegetation management work
16           proposed in PG&E’s wildfire mitigation plan, it appears that if the proposed
17           rate of vegetation clearance were followed, it would take more than ten years
             for PG&E to complete its work on the lines located within the High Fire Threat
18           Districts alone. Is this correct?

19           Response: In its Wildfire Safety Plan, PG&E discussed the various enhanced vegetation
20   management (“EVM”) programs it is implementing to further reduce the likelihood of vegetation
21   contact with power lines and the potential for wildfire ignition. In late 2018, PG&E began performing
22   EVM work in Tier 2 and Tier 3 High Fire Threat District (“HFTD”) areas, in addition to its ongoing,
23
         2
24          PG&E is working to streamline the agency review and approval process for operations and
     maintenance work on lands managed by NPS and BLM. In December 2018, PG&E obtained a five-
25   year permit from the NPS that streamlined operations and maintenance work in the Golden Gate
     National Recreation Area. However, PG&E’s service territory includes several other NPS-
26   administered parks, such as Point Reyes National Seashore, Yosemite National Park and
     Whiskeytown National Recreation Area, and PG&E must coordinate with NPS on a case-by-case
27
     basis to perform work in those parks.
28                                                     7
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1    routine and drought and tree mortality response vegetation management programs. The EVM

2    programs include (1) overhang clearing, (2) targeted tree species work and (3) targeted fuel reduction.

3    The scale, scope and complexity of this work is such that PG&E currently expects the EVM work will

4    take approximately eight years to complete.

5            PG&E is proactively addressing the challenges associated with completing the EVM program

6    work. As discussed in its January 23 Submission and its Wildfire Safety Plan, the most significant

7    challenge to the program schedule is the limited availability of a qualified work force, in particular,

8    limited qualified tree workers, which in turn limits the maximum pace of work. (Jan. 23 Br. at 47;
9    WSP at 80-83.)
10           The estimated pace of PG&E’s multi-year EVM program is based on maintaining the
11   maximum-available resource of qualified tree workers who could be hired to perform vegetation
12   management activities. After accounting for the number of workers already needed to complete
13   PG&E’s annual routine vegetation management, PG&E estimates that its EVM program will take
14   approximately eight years to complete (i.e., from 2019 to approximately 2026). 3 PG&E hopes to
15   accelerate that schedule, but that will require identifying a sustainable increase in the volume of

16   trained, safe, qualified, line clearance certified tree workers. 4

17           PG&E is exploring approaches to increase the population of qualified tree workers who could

18   perform this work. For example, PG&E is considering partnering with its Tree Work Vendors and the

19
         3
            In its Wildfire Safety Plan, PG&E stated that with respect to its overhang clearing and targeted
20   tree species programs, it intends to complete approximately 2,450 circuit miles in 2019, out of
     approximately 25,200 circuit miles. (WSP at 74.) Although this may suggest that the program
21
     would take approximately ten years to complete, PG&E intends to increase its pace of work after
22   2019. (See id.) PG&E has estimated that there are approximately 3,000 qualified tree workers who
     could be hired to perform vegetation management activities. (Id. at 80-83.) PG&E anticipates,
23   however, that it will take some time in early 2019 to reach the necessary staffing levels for the EVM
     programs, which is why PG&E estimates that it may complete fewer circuit miles in 2019 than in
24   subsequent years.
25       4
            With respect to the overhang clearing program in particular, in addition to the initial work,
     PG&E will need to perform annual, follow-up vegetation maintenance work on the sections of the
26
     line cleared of overhangs, to keep branches above power line height from growing back into an
27   overhanging position. As the line miles cleared of overhangs increases, the annual maintenance and
     upkeep effort will also grow.
28                                                      8
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1    International Brotherhood of Electrical Workers to potentially implement a tree worker apprenticeship

2    program that is intended to create a pool of new qualified personnel.

3           Another challenge to completing EVM work on schedule is the numerous legal requirements

4    that must be navigated, including the need to secure permission to access land, local permit

5    requirements, environmental requirements and other state or federal requirements. These issues may

6    involve concerned landowners and communities, local governments and state or federal agencies, and

7    can cause significant delays in performing vegetation management work. PG&E discussed these

8    issues in more detail in its January 23 Submission and its Wildfire Safety Plan. (Jan. 23 Br. at 28-32;
9    WSP at 83-85.)
10
            Question 4: Is PG&E in full compliance with Section 4293 of the California
11          Public Resources Code? State the reliability of the sources used to answer. If
12          the answer is anything other than an unqualified yes, state all reasons for
            noncompliance.
13
            Response: The areas through which overhead power lines traverse are often densely forested,
14
     highly dynamic, living environments, in which conditions can rapidly change. Neither PG&E nor any
15
     other utility that operates tens of thousands of line miles in such environments can verify on any one
16
     day that no tree in its service territory encroaches within the minimum clearance distances established
17
     by Public Resources Code § 4293 or that no tree is dead or dying such that Section 4293 requires it to
18
     be trimmed or removed. Given the dynamic conditions of vegetation, it is impossible for a utility to
19
     achieve perfect compliance or to represent that it is in full compliance at all times. Nevertheless,
20
     utilities, including PG&E, implement a number of procedures to (1) appropriately identify and remove
21
     or prune vegetation that grows within the required clearances before the next inspection, and (2) assess
22
     compliance after the work is completed and take action to implement corrective actions as necessary.
23
     PG&E’s procedures are described below.
24
            To maintain compliance with Section 4293 during the designated fire season, PG&E operates
25
     a comprehensive, multi-pronged vegetation management program designed to be responsive to the
26
     changing natural environment. In order to control vegetation and maintain compliance with the
27

28                                                    9
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1    relevant statutes and regulations, PG&E’s vegetation management program comprises a combination

2    of routine, specialized and targeted vegetation management initiatives. These initiatives include the

3    routine distribution program and drought and tree mortality response program, which are, among other

4    things, designed to maintain compliance with Section 4293, and are discussed in detail in PG&E’s

5    January 23 Submission. (Jan. 23 Br. at 34-36.)

6            During routine distribution patrols, pre-inspectors are required not only to identify trees that

7    are currently not in compliance with legal requirements or company standards at the time of the

8    inspection, but also to identify trees that may not maintain compliance in the coming year and to
9    prescribe work that will achieve a minimum of yearlong compliance. After completion of the pre-
10   inspection, trimming of trees exhibiting no near-term risk factors is expected to be completed within
11   a 60-90 day range. Trees that may not maintain compliance are addressed more quickly, and if any
12   trees are identified as an “immediate” risk, PG&E’s policy is those trees be addressed immediately
13   (i.e., the same day).
14           In order to achieve compliance regardless of the standard cadence of inspections and tree work,
15   PG&E policies require pre-inspectors to assign trees identified during patrols with work codes that
16   differ depending on urgency. For example, PG&E’s Distribution Routine Patrol Procedure provides
17   that if a pre-inspector believes that a tree is unlikely to remain in compliance with regulations before
18   the next scheduled cycle of tree work, the pre-inspector should assign an “Accelerate” priority code,

19   which gives that work a higher priority than other routine work. 5 (Biancardi Decl. Exhibit B, at PGE-

20   CPUC-00005474.) Similarly, after consulting with a supervisor, pre-inspectors may assign a “Bi-

21   annual” code for “fast growing trees that may not hold compliance for a full cycle”, which triggers

22   another inspection within the next six months. (Id. at PGE-CPUC-00005476-5477.) If a tree requires

23

24

25

26
         5
         Once the “Accelerate” code is assigned, the pre-inspector consults with the local Vegetation
27
     Management Program Manager (“VPM”) to create the work tag and schedule the work. (Id.)
28                                                   10
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1    pruning or removal but will likely remain in compliance until the next scheduled cycle of tree work,

2    the pre-inspector should assign a “Routine” priority code. 6 (Id. at PGE-CPUC-00005474.)

3             Because of external factors, such as customer refusals or certain environmental restrictions,

4    required work is sometimes delayed. In 2016, for example, there were more than 40,000 instances in

5    which work was delayed because a customer refused to permit PG&E to conduct necessary vegetation

6    management work, and more than 1,200 instances in which work was delayed because a protected

7    bird’s nest was found in a tree prescribed for work. Where such conditions exist, PG&E may be

8    required to obtain permits, research land rights or discontinue electric service until the issue is
9    resolved. Depending on the length of time it takes to resolve the issue, some trees may begin to
10   encroach within the minimum clearance distance provided by Section 4293, which raises a compliance
11   issue.
12            Some of these delays may be mitigated by Public Resources Code § 4295.5, which the
13   California State Legislature recently enacted to permit owners of electrical transmission and
14   distribution lines to enter private property to inspect their lines and prune trees that encroach within
15   the clearances prescribed by Section 4293 or that are otherwise hazardous. However, because Section
16   4295.5 is newly enacted, it has not yet been judicially tested, and its impact remains uncertain.
17            PG&E has also implemented checks on its contractors’ vegetation management work as
18   another way to monitor compliance. For example, PG&E conducts audits and reviews of its vegetation

19   management program to assess the quality of contractors’ work and compliance with PG&E’s

20   standards and legal requirements, including Public Resource Code § 4293. PG&E’s audit and review

21   process consists primarily of two programs, Quality Control (“QC”) and Quality Assurance (“QA”).

22   PG&E’s Quality Control (“QC”) reviews are designed to assess whether the vegetation management

23   contractors are performing according to PG&E’s expectations, including whether they are complying

24   with the applicable regulations. The QC reviews assess whether pre-inspection contractors identify

25

26       6
           Because Public Resource Code § 4293 permits contact between vegetation and power lines
     below a certain voltage, trees that require work near such low-voltage conductors are always
27
     assigned a Routine priority code.
28                                                    11
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1    and prescribe the proper work, as well as whether the tree workers’ performance is consistent with

2    contractual requirements (e.g., completing work prescribed by pre-inspectors). To the extent that

3    issues are identified, corrective actions are assigned and documented by local Vegetation Management

4    Program Managers (“VPM”), who are responsible for tracking whether any necessary corrective

5    actions are fully implemented. 7

6            PG&E’s QA audits are designed to obtain a “real-time” assessment of PG&E’s vegetation

7    management program and whether the conditions in its service territory are consistent with PG&E’s

8    legal obligations. To ascertain a true “real-time” condition of the program, audits are performed
9    throughout the year. Unlike QC audits, QA audits are not scheduled to follow inspections and tree
10   trimming/removal work, but are instead scheduled independently. The audits indicate whether any
11   identified issues pose compliance violations or potential violations (e.g., potential violation may occur
12   within 90 days). The auditors perform an analysis of any actual or potential compliance issues, identify
13   trends and report the results to the VM-Operations Managers and the VPM for the area. The VPM is
14   responsible for taking action to correct identified deficiencies and for communicating any required
15   corrective actions to the contractors. If an auditor identifies a recurring or systemic issue, the VM
16   Operations group, working in conjunction with the QA Specialists, develops long-term action plans to
17   reduce or prevent the issue from recurring.
18

19

20

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26       7
           Depending on the significance and frequency of issues identified, corrective actions may range
     from a renewed order to complete the work, training, reduction of assignments, restricting
27
     contractors from working on the PG&E contract or other actions as determined by the local VPM.
28                                                    12
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1

2                                                        Respectfully Submitted,

3    Dated: February 22, 2019                            JENNER & BLOCK LLP

4

5                                                     By:    /s/ Reid J. Schar
6                                                           Reid J. Schar (pro hac vice)

7                                                        CRAVATH, SWAINE & MOORE LLP

8
9
                                                      By:    /s/ Kevin J. Orsini
10                                                          Kevin J. Orsini (pro hac vice)

11
                                                         CLARENCE DYER & COHEN LLP
12

13
                                                      By:    /s/ Kate Dyer
14                                                          Kate Dyer (Bar No. 171891)

15
                                                      Attorneys for Defendant PACIFIC GAS
16                                                    AND ELECTRIC COMPANY
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                                RESPONSE TO REQUEST FOR INFORMATION
                                       Case No. 14-CR-00175-WHA
